             Case 1:13-vv-00580-UNJ Document 63 Filed 01/29/16 Page 1 of 2




     In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                               No. 13-580V
                                         Filed: December 7, 2015

*******************************************
MELANIE WOOD, as Legal Representative of  *
L.W., Deceased Minor Child,               *
                                          *
                    Petitioner,           *                              Attorney Fees and Costs; Stipulation.
                                          *
       v.                                 *
                                          *
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                       *
                                          *
                    Respondent.           *
                                          *
*******************************************

Anne Carrión Toale, Esq., Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Amy Paula Kokot, Esq., US Department of Justice, Washington, DC, for respondent.

                            DECISION ON ATTORNEY FEES AND COSTS1

Roth, Special Master:

        In this case under the National Vaccine Injury Compensation Program,2 the chief special
master issued a decision dismissing the petition on June 15, 2015. On December 4, 2015, the
parties filed a stipulation for attorney fees and costs. The stipulation indicates that respondent
does not object to the amount petitioners are requesting. Additionally, pursuant to General Order
#9, a declaration filed by petitioner notes that petitioner did not incur any costs.

        I find that this petition was brought in good faith and that there existed a reasonable basis
for the claim. Therefore, an award for fees and costs is appropriate, pursuant to 42 U.S.C. §
300aa-15(e)(1). Further, the proposed amount seems reasonable and appropriate. Accordingly, I

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to delete medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree
that the identified material fits within this definition, I will delete such material from public access.
2
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2006).
           Case 1:13-vv-00580-UNJ Document 63 Filed 01/29/16 Page 2 of 2



hereby award the following:

             A lump sum of $11,785.00 in the form of a check payable jointly to petitioner
             and petitioner’s counsel of record, Anne Toale, for petitioner’s attorney fees and
             costs.

        The clerk of the court shall enter judgment in accordance herewith.3

IT IS SO ORDERED.

                                                     s/ Mindy Michaels Roth
                                                     Mindy Michaels Roth
                                                     Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. See
Vaccine Rule 11(a).
